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                                   No. 23-8054



               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE TENTH CIRCUIT




                               Jake Stanley DeWilde


                                                      Plaintiff - Appellant,


                                         v.


                  Attorney General of the United States; Director of the
                 Bureau of Alcohol, Tobacco, Firearms, and Explosives,


                                                      Defendants - Appellees.


    On Appeal from the United States District Court for the District of Wyoming
                 The Honorable Chief Judge Scott W. Skavdahl
                            No. 1:23-cv-00003-SWS


 APPELLANT’S RESPONSE IN OPPOSITION TO APPELLEE’S MOTION
 FOR EXTENSION OF TIME TO FILE DEFENDANT-APPELLEES’ BRIEF
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       Plaintiff-Appellant Jake Stanley DeWilde (“DeWilde”) respectfully opposes

 the Motion for Extension of Time to File Defendant-Appellees’ Brief, Doc. No.

 010110919862 (“extension request”), submitted by Defendants-Appellees Attorney

 General of the United States and Director of the Bureau of Alcohol, Tobacco,

 Firearms, and Explosives (collectively, “the government”). In opposition, Mr.

 DeWilde states the following:

 1.    This is an exceedingly simple case. Of the two issues identified in Mr.

 DeWilde’s opening brief, Doc. No. 010110913967, only the second issue was fully

 raised and argued by the government in the district court.1

 2.    The sole statute at issue in this facial challenge, 18 U.S.C. § 922(o) (“the

 machinegun ban”), is not a new, modern, or revolutionary prohibition. The

 machinegun ban has been law for more than thirty-five years. The government has

 prosecuted numerous individuals under the challenged statute, and has defended its

 constitutionality on several occasions.2




 1
   See id. at 1 (Issue II “Whether the District Court’s Constitutional Analysis of 18
 U.S.C. § 922(o) Comports with New York State Rifle & Pistol Assn., Inc. v. Bruen,
 597 U.S. ___ (2022)”); See also ROA, Vol. I, at 106 (the government arguing that
 “Section 922(o) Comports with the Second Amendment Under Bruen’s
 Standard”).
 2
   See Hollis v. Lynch, 827 F.3d 436 (5th Cir. 2016); United States v. One (1) Palmetto
 State Armory PA-15 Machinegun Receiver/Frame, Unknown Caliber Serial No.
 LW001804, 822 F.3d 136 (3rd Cir. 2016); United States v. Zaleski, 489 F. App'x 474
 (2nd Cir. 2012); United States v. Marzzarella, 614 F.3d 85 (3rd Cir. 2010).
                                            1
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 3.    The only significantly new legal precedent differentiating the instant case

 from prior facial challenges to the machinegun ban is New York State Rifle & Pistol

 Assn., Inc. v. Bruen, 597 U.S. ___ (2022). But the government’s burden clarified by

 Bruen cannot be considered uncharted territory for the government. Bruen was

 decided more than a year ago. Since then, the government has been a party to

 numerous Second Amendment challenges under Bruen’s clarified holdings,3 which

 demonstrates that the government should now be well-versed in the simple “two-

 prong” approach explicitly outlined in Bruen.4

 4.    Mr. DeWilde has presented no new legal arguments in this appeal than were

 brought and argued in or by the district court, where the government successfully

 defended the challenged statute without any deadline extensions.

 5.    In addition to the simplicity of this case, the government’s extension request

 does not comply with this Court’s local rules. Section 3 of the government’s

 extension request appears to attempt to satisfy 10th Cir. R. 27.6(E)(1), which


 3
   See Fraser v. Bureau of Alcohol, Tobacco, Firearms, & Explosives, No. 3:22-cv-
 410 (E.D. Va., May 10, 2023); Range v. Attorney General, No. 21-2835 (3rd Cir. Jun.
 6, 2023); United States v. Daniels, No. 22-60596 (5th Cir. Aug. 9, 2023); United
 States v. Harrison, No. CR-22-00328-PRW (W.D. Okla. Feb. 3, 2023); United
 States v. Price, No. 2:22-cr-00097 (S.D. W. VA. Oct 12, 2022); United States v.
 Quiroz, No. PE:22-cr-00104-DC (W.D. Tex. Sep 19, 2022); United States v. Rahimi,
 61 F.4th 443 (5th Cir. 2023).
 4
   “[1] When the Second Amendment’s plain text covers an individual’s conduct, the
 Constitution presumptively protects that conduct. [2] The government must then
 justify its regulation by demonstrating that it is consistent with the Nation’s historical
 tradition of firearm regulation.” Bruen, slip op. at 15.
                                             2
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 identifies “other litigation present[ing] a scheduling conflict” as a reason “that may

 merit consideration”5 of a grant of an extension of time. However, in identifying

 potentially conflicting litigation, the government’s extension request failed to

 “describe the action taken in the other litigation on a request for continuance or

 deferment,”6 and to “state reasons why the other litigation should receive priority

 over the case in which the motion is filed,”7 both of which “must”8 be shown for the

 proscribed reason in 10th Cir. R. 27.6(E)(1).

 6.    The government’s extension request does not “establish that it will not be

 possible to file the brief on time, even if the party exercises due diligence and gives

 priority to preparing the brief.”9 Rather, it includes “[g]eneralities—such as

 assertions… that counsel is too busy”10 preparing for other cases and that counsel

 “has a number of other internal matters;”11 such generalities “are not sufficient”12

 for a deadline extension. Furthermore, the majority of the other cases that counsel

 for the government is responsible for have deadlines after their deadline in the instant

 case, October 5, 2023, and the government has not asserted that no further deadline



 5
   10th Cir. R. 27.6(E) (emphasis added).
 6
   10th Cir. R. 27.6(E)(1)(b).
 7
   10th Cir. R. 27.6(E)(1)(c).
 8
   10th Cir. R. 27.6(E)(1) (emphasis added).
 9
   10th Cir. R. 27.6(D).
 10
    10th Cir. R. 27.6(D)(2).
 11
    Doc. No. 010110919862 at 2.
 12
    10th Cir. R. 27.6(D).
                                            3
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 extensions will be requested. The general assertion that counsel is responsible for

 other litigation does not identify a limit that would preclude future additional delays.

 7.       “Extensions of time to file briefs are disfavored,”13 and the government’s

 extension request does not comply with the requirements of the local rules for an

 extension of time. If, however, the Court generously granted relief to the

 government, Mr. DeWilde requests that the extension be limited to a more

 reasonable 15 days beyond the existing response brief deadline for the government

 of October 5, 2023, to a new deadline of and including October 20, 2023.

                                     CONCLUSION

          For the reasons stated above, the Court should deny Appellee’s extension

 request, or in the alternative, limit the extension to 15 days.

 DATED this 15th day of September, 2023.        Respectfully Submitted,

                                                /s/ Jake S. DeWilde
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 13
      10th Cir. R. 27.6(A).
                                            4
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        I, Jake DeWilde, hereby certify that I filed the foregoing document via the
 Court’s electronic-filing system; all parties in this case have consented to electronic
 service; and the electronic filing of the foregoing document constitutes proof of
 service to all parties in this case.



 DATED this 15th day of September, 2023.        Respectfully Submitted,

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